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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

WELLS FARGO BANK, N.A.,                            §
                                                   §
V.                                                 §            A-15-CV-165-AWA
                                                   §
JANOS FARKAS.                                      §

                                       FINAL JUDGMENT

        Pursuant to Federal Rule of Civil Procedure 41, the Parties have stipulated to the dismissal of

all claims and causes of action that Plaintiff has asserted in the above-styled cause of action, without

prejudice to the refiling of those claims. Those claims have therefore been disposed of. Consistent

with the Memorandum Opinion and Order of April 28, 2017, IT IS ORDERED, ADJUDGED and

DECREED that Defendant Janos Farkas TAKE NOTHING on his quiet title counterclaim.

        Finally, IT IS ORDERED that any pending motions are DENIED AS MOOT, and this case

is CLOSED. Any relief not expressly granted herein is denied.

        SIGNED this 28th day of April, 2017.


                                              _____________________________________
                                              ANDREW W. AUSTIN
                                              UNITED STATES MAGISTRATE JUDGE
